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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


PATRICIA A. GRANT, PH.D.,                         §
                                                  §
                   Plaintiff,                     §                5-21-CV-00761-FB-RBF
                                                  §
vs.                                               §
                                                  §
TEXAS STATE ATTORNEY GENERAL                      §
OPEN GOVERNMENT RECORDS, AND                      §
CONSUMER PROTECTION DIVISION                      §
ET AL.                                            §
                                                  §
                   Defendants.                    §



                                              ORDER

       Before the Court is the Application for Permission to File Electronically, Dkt. No. 2, filed

by pro se Plaintiff Patricia A. Grant. Having considered the motion, the Court will grant it.

       IT IS THEREFORE ORDERED that Plaintiff’s Request for Electronic Filing, Dkt. No.

2, is GRANTED.

       Plaintiff is directed to contact the Office of the District Clerk to obtain the e-filing and

e-noticing registration form and to submit the fully completed form to the Clerk. Under standard

procedures, the registration form will be processed by the Clerk, who has the responsibility of

verifying, approving, and effectuating e-filing and e-noticing of court documents.

       IT IS SO ORDERED.

       SIGNED this 16th day of November, 2021.




                                              RICHARD B. FARRER
                                              UNITED STATES MAGISTRATE JUDGE
